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11   Inc., True Lab Creations, Inc., and Taylor Craig
12
                               UNITED STATES DISTRICT COURT
13
                CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
14
15   MIKE SARIEDDINE, an individual               Case No. 2:17-cv-989-DSF-SK
                                                  Hon. Dale S. Fischer
16                Plaintiff,
                                                  MEMORANDUM OF POINTS AND
17         v.                                     AUTHORITIES IN SUPPORT OF
18   BIG BANG VAPE CO., LLC, a                    DEFENDANTS’ MOTION FOR
     Georgia limited liability company;           STAY OF ACTION
19   UNIFIED VAPE DISTRIBUTION,
20   INC., a Georgia corporation; TRUE
     LAB CREATIONS, INC. a Georgia
21   corporation; TAYLOR CRAIG, an
     individual; and DOES 1 through 10,           Date:      June 3, 2019
22
     inclusive,                                   Time:      1:30 p.m.
23                                                Crtrm.:    7D
                  Defendants.
24
25   AND RELATED COUNTERCLAIMS.

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          MEMORANDUM OF POINTS AND AUTHORITIES ISO MOTION FOR STAY OF ACTION
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 1                    MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.    INTRODUCTION
 3         Mike Sarieddine’s claims in this case are predicated largely on his assertion of
 4   trademark priority and his two trademark registrations. However, in an order entered on April
 5   17, 2019, Judge Anderson granted summary judgment to Alien Visions E-Juice, Inc. (“Alien
 6   Visions”) in a similar action. In that order, Judge Anderson determined that there was no
 7   issue of fact that Alien Visions had priority over Sarieddine. Most importantly, as a result of
 8   Judge Anderson’s Order and a subsequent stipulation between Mr. Sarieddine and Alien
 9   Visions, Judge Anderson has canceled Mr. Sarieddine’s trademark registrations. This case
10   should therefore be stayed, particularly during the pendency of Mr. Sarieddine’s appeal of
11   the Alien Visions case.
12   II.   FACTUAL BACKGROUND
13         Sarieddine filed the instant action in February 2017 against Defendants seeking
14   damages, trademark cancelation, and an injunction, all based primarily on his purported
15   nationwide priority stemming from his trademark registrations for “ALIEN VAPE” 1
16   (hereinafter “Sarieddine Registrations”) and his asserted 2008 first use date. See Second
17   Amended Complaint Counts I, II, V, and VI (Dkt. No. 174).
18         On May 1, 2018, Sarieddine filed a trademark infringement action against Alien
19   Visions asserting the same two Sarieddine Registrations. See Dkt. No. 1 in Sarieddine v.
20   Alien Visions E-Juice, Inc., et al.; Case No. 2:18-cv-3658-PA-MAA (“Alien Visions Case”),.
21   Alien Visions counterclaimed for cancelation of the Sarieddine Registrations based on, inter
22   alia, Alien Visions’ years of priority and market penetration. See Alien Visions Case, Dkt.
23   No. 31.
24         On April 17, 2019, Judge Anderson granted Alien Visions’ motion for summary
25   judgment as to liability, finding that it could not infringe Mr. Sarieddine’s trademarks
26
27   1
       Those registrations are U.S. Trademark Registration No. 4,517,249 for the ALIEN VAPE
28   logo with respect to e-cigarette vaporizers and U.S. Trademark Registration No. 4,997,336
     for the work mark ALIEN VAPE with respect to various e-cigarette products.
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 1   because it had priority over him. See Order attached as Exhibit A to Hyland Declaration. As
 2   to Alien Visions’ counterclaim for cancellation of the Sarieddine Registrations based on
 3   priority, the Court concluded that Alien Visions has priority but that “the Court has not had
 4   occasion to consider whether there is a likelihood of confusion between the parties’ marks.”
 5   Id. at pp. 7, 9, 11.
 6           On April 19, 2019, in order to clarify that no issues remained for trial, Sarieddine and
 7   Alien Visions entered a stipulation to the existence of a likelihood of confusion between the
 8   parties’ marks in this case. See stipulation attached as Exhibit B to Hyland Declaration.
 9   Sarieddine and Alien Visions further submitted that there are no issues remaining for trial
10   and that Alien Visions’ alternative grounds for cancellation are now moot. Id. Thereafter,
11   Judge Anderson canceled the Sarieddine Registrations. See Final Order attached as Exhibit
12   C to Hyland Declaration. Sarieddine’s counsel has stated that Sarieddine will appeal Judge
13   Anderson’s Order. Hyland Declaration ¶ 5.
14   III.    ARGUMENT
15           A.    A District Court has Discretion to Grant a Stay
16           “A trial court may, with propriety, find it is efficient for its own docket and the fairest
17   course for the parties to enter a stay on an action before it, pending resolution of independent
18   proceedings which bear upon the case.” Levya v. Certified Grocers of Cal., Ltd., 593 F.2d
19   857, 863 (9th Cir. 1979). A district court weighs three factors when deciding a motion to
20   stay:
21                (1) the possible damage which may result from granting the stay,
22                (2) the hardship or inequity which a party may suffer in being
23                required to go forward, and (3) the orderly course of justice
24                measured in terms of simplifying or complicating issues, proof, and
25                questions of law which could be expected to result from a stay.
26   CMAX, Inc. v. Hall, 300 F.3d 265, 268 (9th Cir. 1962). “Discretion to stay a case is
27   appropriately exercised when the resolution of another matter will have a direct impact on
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 1   the issues before the court, thereby substantially simplifying the issues presented.” Mendez
 2   v. Optio Solutions, LLC, 239 F. Supp. 3d 1229, 1232 (S.D. Cal. 2017).
 3         Here, all three CMAX factors favor a stay of this action to determine whether
 4   Sarieddine can continue to assert the Sarieddine Registrations. Indeed, Sarieddine’s case is
 5   predicated on the validity of the Sarieddine Registrations. Those two registrations each
 6   created nationwide constructive notice of Sarieddine’s claim of ownership of the marks,
 7   thereby precluding anyone else thereafter from claiming good faith, innocent use or expanded
 8   use of the same mark after the date of registration. 15 U.S.C. § 1115Error! Bookmark not
 9   defined.; Stone Creek, Inc. v. Omnia Italian Design, Inc., 875 F.3d 426, 436 (9th Cir.
10   2017). Common-law trademark rights, on the other hand, “extend only to the territory where
11   a mark is known and recognized.” Id.
12         Thus, the relevant facts, dates, sales, experts, damages, and law all stand to change
13   dramatically now that the Sarieddine Registrations are canceled, and once those cancellations
14   are affirmed on appeal. Both parties and the Court would be severely prejudiced if they had
15   to litigate, and adjudicate, claims for trademark infringement and cancelation of Big Bang’s
16   trademarks, all without finality as to the fate of the registrations. The potential for
17   inefficiencies and injustice cannot be overstated.
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 1   IV.   CONCLUSION
 2         For the foregoing reasons, Defendants respectfully request that the Court stay and
 3   administratively terminate the instant action pending the latter of (1) Sarieddine’s appeal, or
 4   (2) the expiration of his time to file a notice of appeal, if no such notice is filed.
 5
 6   Dated: April 29, 2019                    ONE LLP
 7
 8                                         /s/John E. Lord________________
                                           John E. Lord
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                                           TAYLOR ENGLISH DUMA LLP
10
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13                                         Attorneys for Defendants
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14                                         Inc., True Lab Creations, Inc., and Taylor Craig
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           MEMORANDUM OF POINTS AND AUTHORITIES ISO MOTION FOR STAY OF ACTION
